Case 1:11-cv-00126-CG-M Document 32 Filed 01/06/12 Page 1 of 8                               PageID #: 640




       ]ouns Lerc
                                                                 Jones Lang laSalle Americas, Retail
                                                                 Retail
                                                                 3344 Peachhee Road Suite 1200, Atlanta,   cA   30326
       L.A,S^rttu.                                               tel +l 404 995 2l0o hx +l 404 233 0817




                                                                                                                        TI
       January 5,2012                                                                                                   r
                                                                                                                        rn
                                                                                                                        et
                                                                                                                        L{
                                                                                                                        E
       Charles R. Diard Jr.                                                                                             =
                                                                                                                        fJ.t
      District Court Clerk
      US District Court                                                                                                 ts
                                                                                                                        rd
      Southem District of Alabama                                                                                       I'3
       113 St. Joseph Street                                                                                            {:},
                                                                                                                        .*e
      Mobile, AL36602                                                                                                   cn
                                                                                                                        to
                                                                                                                        c,
                                                                                                                        F
                                                                                                                        vl
              Re:    Case   No. 11-00126-CG

      Dear Clerk of Court:

      Pursuant to the Court Order of the District Court for the Southern District of
      Alabama, Southern Division, entered on April 1I,20L1 ('Receiver Order'), Greg
      Maloney, as Receiver, hereby submits his final report with respect to the
      receivership of the Property, as defined in the Receivership Order.

      The undersigned Receiver hereby declares under penalty of perjury that the
      information set forth in the attached report is tnre and correct to the best of his
      knowledge, information and belief.

      Please cause the aforementioned to be filed with the Court's records.

      If you have any questions, or any problems with filing the aforementioned
      document, please call me directly at    (04)   995-6492. Your assistance is greatly
      appreciated.



      Respectfully submitted,




      Gregory T. Maloney, solely in his capacrty as Receiver for certain property of AIG
      Baker Orange Beach Wharq L.L.C appointed by Order of the United States District
      Court for the Southem Disfict of Alabama Southem Division

      Enclosure
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       Ms. Brown
       Disfict Clerk
       January 5,2012
       Page2




                    cc:   Sandy G. Robinson
                          CABANISS, JOHNSTON, GARDNER,
                          DUMAS & O'NEAL LLP
                          P. O. Box 2906
                          Mobile, AL 36652
                          Direct Dial: (251) 415-7308



                          Amy McMullen
                          AIG Baker
                          1701 Lee Branch Lane
                          Birminghsl, AL35242
                          205-972-9669
          Case 1:11-cv-00126-CG-M Document 32 Filed 01/06/12 Page 3 of 8                    PageID #: 642

 83500                                                                                                     PAGE   1
                                           Detail Income Statement                                         DATE
 CUSTOM                                                                                                           01t05t12
 18768                                                                                                     TIME   16:41;24

                                                         The Wharf
                             For the Twelve Months Ending December 30,2011




INCOME:

RENTALINCOME

Minimum Rent                  <4,760.00>   2't0,022.47       <214,782.47>   2,518,407.53    2,769,500.45     <251,092.92>
Percentage Rent                      .00           .00                .00   <37.808.40>     <37,808.40>                 .00
 TOTAL RENTAL INCOME          <4,760.00>   210,022,47        <214,782,47>   2,/80,599,13    2,731,692.05     <251,092.92>
TENANT REIIT/IB INCOME

CAM Income                     <731.50>     23,133.32         <23,864.82>    364,963.41      419,929.90       <54,966.49>
Water/Sewer lnc                 <56.00>      5,596.00          <5,652.00>     38,444.00       46,896.00        <8,452.00>
Real Estrate Taxes Reimb       <288.16>     21,508.06         <21,796.22>    1*,772.15       251,226.92       <96,4il.77>
Insurance Reimb lncome         <277.09>     40,249.59         <40,526.68>    150.271.il      411.864.59      <26'1.593.05>
TOTAL TEN REIMB INCOME        <1,352.75>    90"186.97         <91,839.72>    708,451.10 1,129,917.41         421,455,31s
OTHER INCOME

Specialty Leasing                    .00          .00                 .00      10,499.49             .00          10,499.49
Misc Operating Income                ,00          .00                 .00     .t5,476.98
                                                                                                     .00          15,476.98
Misc'NonOper Income                  .00          .00                 .00          329.28        329.28                 .00
PriorYr Income   Adj                 ,00          .00                 .00       ,t,040.84
                                                                                               1,040.84                 .00
TOTAL OTHER INCOME                   .00          .00                 .00     27,346.59         1,370.12          25,978.47
TOTAL ING FROM OPERATIONS     <6,112.75>   300,509.44 <306,622.19>          3,216,396.92    3,862,979.58     <646,582.76>
EXPENSES

REIMBURSED EXPENSES

Common Area Expenses

R&M-Travel Gosts                     .00          .00                 .00        124.95          124.95                 .00
R&M-Fire Supp/Sprinkler              .00          .00                 .00      2,077.00          580.00        <1,497.00>
R&M-Plumbing                         .00          .00                 .00      3,147.60              .00       <3,147.60>
R&M-Other Services                   .00          .00                 .00      2,473.31        2,473,31                 .00
R&M-Supplies                         .00      300.00              300.00       3,768.56        2,417.26        <1,351.30>
R&M-Small Equipment                  .00          .00                 .00        300.00              .00          <300.00>
R&M-Maintenance Supplies             .00          .00                 .00      2,057.50              .00       <2,057.50>
R&M-Electrical Supplies              .00      150.00              150.00         182.00        1,200.00           1,0't8.00
R&M-Plumbing Supplies                .00      150.00              150.00             .00       1,200.00           1,200.00
R&M-Contracted Services              ,00          .00                .00      16,519.17       17,719.17           1,200.00
R&M-Trash Removal                    .00     5,000.00           5,000.00      68,407.87       63,733.01       <4,674.86>
R&M-Elevator & Escalator             .00          .00                .00      54,801.85       63,739.42           8,937.57
R&M-Roof                             .00          .00                .00             ;00       4,000.00           4,000.00
R&M-PIumbing                         .00          .00                .00             'Q0       1,000.00           1,000.00
R&M-Electric                         .00          .00                .00      25,250.51        2,000.00      <23,250.51>
R&M-Pa*ing lights                    .00          .00                .00             .00       2,250.00           2,250.00
R&M-Parking Lot                      .00          .00                .00             .00       2,000.00           2,000.00
             Case 1:11-cv-00126-CG-M Document 32 Filed 01/06/12 Page 4 of 8                   PageID #: 643

83500                                                                                                       PAGE   2
                                              Detail Income Statement                                       DATE   01t05t12
CUSTOM
18768                                                                                                       TfME   16;41;24

                                                           The Wharf
                                For the Twelve Months Ending December 30,2011




R&M-Building                           .00        500.00               500.00           .00      4,000.00           4,000.00
R&M-Sidewalks & Curbs                  .00        200.00            200.00              .00      1,600.00           1,600.00


Clean-Pest Control                I,040.00        250.00          <790.00>        3,420.00       2,000.00       <1,420.00>
Janitorial                             .00           .00                  .00       557.54            .00          <557.54>
Janitorial-Supplies                    .00           .00                  .00     1,292.66            .00       <1,292.66>


R&M-PayMages                      3,779.36     16,807.00          13,027.U      128,U7.27      142,488.47          14,141.20
R&M-Contracted Services                .00           ,00                  .00     1,200.00            .00       <1,200.00>
R&M-Cleaning                      1,348.52      1,000.00          <348.52>       16,4U.14       20,500.00           4,015.86
R&M-Sweeping                           .00       500.00             500.00       10,920.00      10,210.00          <710.00>


Utilities-Electricity               22.19      10,598.00         10,575.81      151,372.68     139,323.61      <'12,049.07>
Utilities-Gas                        7.26            .00            <7.26>          438.13          55.34          <382.79>
Utilities-Water & Sewer            370.67       7,000.00          6,629.33      357,017,57     104,411,97     <252,605.60>
Utilities-Sewer                        .00           .00                  .00       891.00         891.00                     .00
Utilities-Fire                         .00       260.00             260.00        1,005.00       3,085.00           2,080.00


Landscape-Contr Services               .00      4,249.00          4,245.00       28,590.00      46,292.00          17,702.00
Landscape-Supplies                     .00           .00                  .00     1,848.00       4,000.00           2,152.00
Landscape.Misc                         .00           .00                  .00     5,798.29            .00       <5,798.29>




Security-PayMages Ext                 .00            .00                 .00       2(ni3          296.13                      .00
Security-Contract Serv Ext            .00       7,744.00          7,74.00       118,994.13     87,700.31       <31,293.82>
Security-Supplies Ext                 .00            .00                 .00      1,478.4             .00       <1,478.M>


Admin-Office Expenses                 .00            .00                 .00      2,886.22            .00       <2,886.22>
Admin-Musid0ommunication           220.54            .00         <220.il>         1,U9.42             .00       <1,649.42>



Admin-Equipment                       .00            .00                 .00      1,327,95        216.45        <1 ,1   1   1.50>
Admin-Mgmt Expenses                304.73            .00         <304.73>         1,501 .97           .00       <1,501.97>
Admin-Telephone                       .00        200.00             200.00       4,085.38       3,425.86           <659.52>
Admin-Travel Cosls                    .00        500.00            500.00              .00      4,000.00           4,000.00
Admin-Dues, Memb & Subs               .00        100.00             100.00             .00        800.00                800.00
Admin-Postage                         ;00        125.00             125.00             .00      1,000.00           1,000,00
Admin-Music/Communicalion          154.80            .00         <154.80>          760.83          75,90           <684.93>
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                                                          The Wharf
                               Forthe Twelve Months Ending December 30,2011



 TOTAL CAM EXPENSES              7,248.07     55,633.00         48,384.93    1,021,273.07     740,809.16     <280,463.91>

Food Gourt Expenser

Otrlce Bldg Cam Expenser

 Real Estate Tax Expense               .00          .00                .00    294,157.50     445,285.47           151.'t27.97
Sale of Utilltles




Other Reimb. Expenses

 InsuranceGeneral Liab                 .00          .00                .00     24,694.26      39,690.75            14,936.49
 Insurance-Proper$                     .00          .00                .00    *7,111.51      747,665.06        200,553.55
 Other Relmb Expenses                  .00          .00                .00     5f1,805.77    787,355.81        215,55{t.04
TOTAL REIMB EXPENSES             7,248,07     55,633.00         48,384.93    1,887,236.34   1,973,4il,M            8G,211.10

OWNERS EXPENSES

Bad Debt Expense                <249.29>     276,331.00        276,580.29    2,523,308.72   3,141,315.06       618,006.34
Mgmt Fees - JLL                 15,03/..47     9,000.00        <6,03/..47>    181,863.09      89,688.77       <92,174.32>
Professlonal Fees

Legal Fees-Other                       .00          .00                .00        921.00         921.00                  .00
Legal-Oth Fees Outs Counsel            .00          .00                .00     50,451.14             .00      <50,451.14>
Prof Fees-Other                        .00       125.00            125.00       2,013.75       3,013.75             1.000.00
 Proftsslonal Fees                     .00       125.00            125.00      53,385.89        3,934.75      49,451.1+
Marketlng Expenses

Adminislrative

Marketing-Supplies                     .00          .00                .00      4,016.75             .00       <4,016.75>
General Marketing

Advertising

Advertising-Special Event              .00          .00               .00         7't0.00        710.00                  .00
 Total Property Mkt Expenses           .00          .00                .00      4,726,75         710.00        <4,016.75>

Total Owner Mkt Expenses               .00      750.00             750.00          50.00       6,000,00             5.950.00
 Markeilng Expenses                    .00      750,00             750.00       4,776.75       6,710.00             r,933.25
Miscellaneoue Expenses

Ownefs R&M

Non-Recoverable Rep&Maint              .00          .00               .00       2,323.07         357.77       <1,965.30>
Ownefs R&M-Supplies                    .00      100.00             100.00             .00        800.00           800.00
Owne/s R&M-Office Supply               .00          .00               .00       3,218.81             .00      <3,218.81>
Ownefs R&M-Misc                        .00      125.00             125.00         711.50       1,'129.32             417.82
R&M-Signs                              .00      100.00             100.00             .00        800.00              800.00
Ownefs R&M-Roof                        .00          .00               .00             .00      2,000.00            2,000.00
Owne/s Adm-Pay/Benefits                .00          .00               .00         683.98         683.98                  .00
          Case 1:11-cv-00126-CG-M Document 32 Filed 01/06/12 Page 6 of 8                                     PageID #: 645

 83500                                                                                                                        PAGE 4
                                                        Detail lncome Statement                                               DATE
 CUSTOM                                                                                                                              01t05t12
 18768                                                                                                                        TIME   16:41;24

                                                            The Wharf
                                      Forthe Twelve Months Ending December 30,2011



Ownefe Utillties

 Ownefs Util-Elec{ric                     <24.49>          2,000.00        2,024.45          1,976.42             16,150.00          14,173.58
 Ownefs Util-HVAC                              .00              .00              .00           7'15.00                  .00           <715.00>
 Ownefs Util-Gas                               .00              .00              .00           236.22                175.34            <60.88>
 Owner's Util-Water/Sewer                3,880.00            100.00      <3,780.00>          3,894.64                800.00       <3,09t.64>
Other Owne/e Expenses

Adm Other-Telephone                            .00          300.00           300.00          1,639.35              3,996.39           2,357.M
Adm Other-Servlce Charge                    97.85               .00         <97.95>          1,137.20                   .00       <1,137,20>
 Owne/s Adm-Equipment                          .00              .00              .00         2,757.03              1,309.95       <1,47.09>
 Ownefs   Adm-ffice Exp                        .00              .00              .00           108.14               <13.54>          <121.68>
Owneds Adm-Telephone                           .00              .00              .00        18,005.54              8,025.72       <9,979.82>
Owne/s AdmPostage                              .00            50.00           50.00          1,185.n                 559.84          <625.93>
Ownef s AdrnTravel Costs                       .00              .00              .00         3,589.62                156.80       <3,432.82>
Owne/sAdm,Misc                                 .00       10,000.00        10,000.00          5,480.94             82.600.16          77.119.22
 Owners Operatlon Exp                    3,953.36         12,775,00        8,821.64         47,663.23            119,531.73          71,868.5{t

Owne/e Mlsc Expcnses

Non-Recover-MisoPrior Yr                                        .00                         <569.34>                    .00             569.34
TOTAL OWNERS EXPENSE                    18,738.5.f      298,981.00       280,212.6       2,810428.U          3,361,180.31         550,751.97
TOTAL OPERANNG EXPENSES                 25,986.61       354,614.00       328,627.39      4,697,664.68        5 334,630.75         636,966.07
NET OPERATING INCOME

BEFORE INTEREST& DEPR

INCOME & EXPENSE                      <32,099.36>      <54,104.56>        22,00,5,20   <1,/l8t,267.86>     <7,471,651.17>         <9,6{6.69>
Intercst Expense

Int Exp-1st Mort Payable                                                                  536.999.99             536.999.99                 .00
 Interest Expense                             .00               .00             .00       536,999.99             536,999.99                 .00
Deprcciatlon

Deprec ExpBuilding                            .00               .00             .00        43,468.5s\     (1)     43,468.53                .00
Deprec Exp-Bldg lmprove                       .00        14,594.49        14,594.49       117,420.1y''' 131,665.3s                   14,245.24
Deprec Exp-Land lmprove                       .00         8,142.90         8,142.94       89,571.90\1
                                                                                                 I
                                                                                                         97,714.80                    8,142,90
Deprec Exp-FF&E                               .00         1,696.47         1,696.47        18,661.17
                                                                                                         | (2)    20,357.64           1,696.47
Deprec ExpTenant lmp lnit                     .00        66,538.00        66,538.00       709,509,87             797,U3.97           87,834.10
Amort-Defened Lease Cost                      .00               .00             .00         4.751.49               4.751.43                .00
 Total Depreciation Expense                              90,97t.86        90,971.86       983,383.01         1,095,301.72         111,918.71
Amorilzation

 Total Depr/Amod Expense                                 90,971.86        90,971.86       983,383.01         1,095,30t.72         111,918.71

NET INCOME                           <32,099.36>      <145,07G,42>       112,977,0e <3,001,650.96>         <3,103,952.99>         102,302.02

Footnotes:
{1} Depreciation Expense - Suilding & Building lmprovements:
Building Asset was not previously booked on the properg's books snd amounts being depreciated are
related to Building lmprovement asset based on previous classification by borrower. JLL was not abls
to obtain any additional information regarding these asset balances and therefore is unable to support the
YTD deprecialion expense at this time.
(2) Depreciation Expense - all other FXA accounts:
Depreciation expense wa$ booked based on schedules obtained from borrower. JLL has reviewed the methods and is in
agreement with borrowor's methodology.
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 83500                                                                                                 PAGE   1
                                              Detail Income Statement
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  18769rS                                                                                              TIME   22:37;20

                                               The Wharf Ferris Wheel
                                 Forthe Twelve Months Ending December 30,2011



 INGOME:

 RENTAL INCOME

TENANTREIMB INCOME

 Misc Operating Income               48.45            .00      48.45     1,451.49  1,183.75                       267.74
 Merchandies Sales                      .00           .00         .00      82a.11    370.93                       49.18
 Fenis wheel Ticket      sales         .00       4,000.00 <4,ooo.oD 116,075.86 61,807.20                      54,268.60
  Total Mlscellaneoug Income
                                     '18.45
                                                 4,000.00 <3,951.55>  '118,U7.46  63,361.88                   54,985.58
TOTAL INC FROM OPERATIONS            8.45        4,000.00    <3,951.55>   118,347.46      63,361.88           54,985.58
EXPENSES

REIMBURSED EXPENSES

Gommon Arca Exp€nses

 R&M-HVAC Servlce                      .00            .00           .00         385.00           .00          <385.00>
 R&M-Equipment                         .00            .00           .00     4,094.40             .00      <4,094.40>
 R&M-Radio                             .00            .00           .00         346.50           .00          <346.50>
 R&M-Misc                              .00            .00           .00     8,391.00       8.000.00           <391.00>
 Total R&M Exp                         ,00            .00           .00    13,216.90       8,000.00       <5,216.90>
 R&M-Oher       Services               .00            .00           .00         260.51       260.51                  .00
 Total Janltorial                      .00            .00           .00         260.51       260.51                  .00
 Utilities-Electricity              111.17           .00      <111.17>      1,636.17             .00      <1,636.17>
 Utilities-Sewer                       .00           .00           .00           28.00        28.00                  on
 Total Utilitieg                    111.17           .00      <171.17>      1,6U.17           28.00       <'1,636.17>
           Subconlrac't
 Direct Costs                          .00           .00           .00     19,522.51      18,522.91                 .00
        Fees
 Merchant                              .00           .00           .00          725.98       725.88                 .00
 LOGO Merohandies COG                  .00           .00           .00       215.93          215.93                 .00
 Total other Gommon Arca               .00           .00           .00     19,4U.72       19,40/.,72                .00
Admin-OtherTax & lic Fee               00            .00           .00      174.51         174.51                   .00
 Total Adminlstration                  ,00           .00           .00      171.5'         174.51                   .00
 TOTALCOMMON AREA EXP               111.17           .00      <111.17>    34,780.81       27,927,74       <6,853.07>
Real. Estrate Tax Expense              .00           .00           .00       865.92          108.24           <757.69>
Sale of Utilitiee

Insurance-General Liab                 .00           .00           .00    11,467.82       16,048.51           4,580.69
Other lnsurance                        .00           .00           .00             .02          .02                  oo
 Total other Reimb Expenses            .00           .00           .00    11,467.U        10,048.53           4,580.69
TOTAL REIMB EXPENSES                111.17           .00      <111.17>    47,114.57       44,084.51       <3,030.06>
OWNERS EXPENSES

Professlonal Fees

Marketing Expenses

Administrative
           Case 1:11-cv-00126-CG-M Document 32 Filed 01/06/12 Page 8 of 8                 PageID #: 647

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 18769tS                                                                                                 TIME   22:37:20

                                            The Wharf Ferris Wheel
                              Forthe Twelve Months Ending December 30,2011



Goneral Marketing

Advertlslng

Mlscellaneous Expenses

Owney's R&M

Non-Recoverable Rep&Maint           .00            .00           .00         355.50                .00          <355.50>
Owne/s R&M-Equipment                .00            .00           .00          36',t.25         361.29                 .00
Owne/s R&M-Misc                     .00            .00           .00         500.50            500.50                 .00
Non-Recoverable Admin Exp           .00            .00           .00         889.39            889.39                 .00
Ownefs Utllltles

OwneCs Util-Electric                .00            .00           .00        1,030.00          1,030.00                .00
Ownefs Util-Sewer                   .00            .00           .00           56,84            56.84                 .00
Other Ownefs Expenees

Owne/s Adm-Equipment                .00            .00           .00         150.00            150.00                 .00
OwnefsAdm-ffice Elrp                .00            .00           .00         460,37            460.37                 .00
Ownefs Adm-Telephone                .00            .00           .00         2'16.18           216.18                 .00
Owne/sAdm-Misc                    60.00       1,000.00        940.00        1,012.93         8,423.59            7.410.66
Total Owners Operation Exp        60.00       1,000.00        940.00        5,033.00        12,088.16            7,055.16
Owne/s Mlsc. Expenses

PqrSSqdftqpCry TaI                   00            .00           .00       2,080.00          2,080.00                 .00
Total Owne/s Mlsc Expense           .00            .00           .00       2,080.00          2,080.00                 .00

Total Owner's Expenses            60.00       1,000.00        940.00       7,113.00         14,168.16            7,055.16
TOTAL OPERANNG EXPENSES          171.17       1,000.00        828.83      il,227.57         58,252.67            4,025,10
NETOPERATING INCOME

BEFORE INTEREST & DEPR

INCOME & EXPENSE               <122,72>       3,000.00    <3,122.72>      64,119.89          5,109.21           59,010.68

Realized Gain/Loss on R/E

Depc Exp-Fenis Wheel                .00      20,806.77     20,806.77     228,874.47        249,681.24           20,80a.77
Dismunts Eamed                      .00            .00           .00        <43.76>           <43.76>                 .00
NET INCOME                     <122,72>    <17,806.77>     17,684.05   <16/.,710.82>     <24/.,528.27>          79,817.45
